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January 11, 2021

Honorable Alison J. Nathan (U.S.D.J.)
United States District Court
Southern District of New York
40 Foley Square, Rm. 2102                                                      1/21/2021
New York, NY 10007

Re:     McGlynn v. Oath, 1:20-cv-01413-AJN


Dear Judge Nathan:

        We represent Plaintiff David McGlynn (“Plaintiff”) in the above-captioned case and write
pursuant to section I.D of the Court’s Individual Practices in Civil Cases to respectfully request
an adjournment of the post-discovery conference scheduled for January 22, 2021 until a Friday
after the parties have conducted their mediation session, which is currently scheduled for
February , 2021.

(i)     7he scheduled date for the post-discovery conference is January 22, 2021 [Dkt. # 23];

(ii)     A request for DQadjournment was previously made by Defendant on November 17, 2020
        [Dkt. #15];

(iii)   The previous request for an adjournment was granted on November 17, 2020 [Dkt. #16]

(iv)    Defendant Oath Inc. consents to the requested relief.


        The mutually agreeable dates for a re-scheduled conference are:

        • February 12, 2021, February 19, 2021 or February 26, 2021.



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KHUHE\DGMRXUQHGWR)HEUXDU\
                                                     /s/jameshfreeman/
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                                                     James H. Freeman
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                                                    Counsel for Plaintiff
                                                    David McGlynn
                                 1/12/2021
